Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 1 of 20




                 Exhibit 1
                                        Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 2 of 20
                                        Published as a conference paper at ICLR 2023




                                        Q UANTIFYING M EMORIZATION ACROSS
                                        N EURAL L ANGUAGE M ODELS

                                                            Nicholas Carlini∗1          Daphne Ippolito1,2     Matthew Jagielski1
                                                              Katherine Lee1,3           Florian Tramèr1       Chiyuan Zhang1
                                                                                         1
                                                                                          Google Research
                                                                                  2
                                                                                      University of Pennsylvania
                                                                                        3
                                                                                          Cornell University
arXiv:2202.07646v3 [cs.LG] 6 Mar 2023




                                                                                             A BSTRACT

                                                     Large language models (LMs) have been shown to memorize parts of their training
                                                     data, and when prompted appropriately, they will emit the memorized training data
                                                     verbatim. This is undesirable because memorization violates privacy (exposing
                                                     user data), degrades utility (repeated easy-to-memorize text is often low quality),
                                                     and hurts fairness (some texts are memorized over others).
                                                     We describe three log-linear relationships that quantify the degree to which LMs
                                                     emit memorized training data. Memorization significantly grows as we increase (1)
                                                     the capacity of a model, (2) the number of times an example has been duplicated,
                                                     and (3) the number of tokens of context used to prompt the model. Surprisingly,
                                                     we find the situation becomes more complicated when generalizing these results
                                                     across model families. On the whole, we find that memorization in LMs is more
                                                     prevalent than previously believed and will likely get worse as models continues to
                                                     scale, at least without active mitigations.


                                        1       I NTRODUCTION

                                        The performance of neural language models has continuously improved as these models have grown
                                        from millions to trillions of parameters (Fedus et al., 2021), with their training sets similarly growing
                                        from millions to trillions of tokens. In anticipation of future, even larger models trained on minimally
                                        curated datasets, it is important to quantify factors that lead to increased memorization of a model’s
                                        training set. Indeed, recent work has shown that training data extraction attacks are a practical threat
                                        for current language models (Carlini et al., 2020); an adversary interacting with a pretrained model
                                        can extract individual sequences that were used to train the model.
                                        While current attacks are effective, they only represent a lower bound on how much memorization
                                        occurs in existing models. For example, by querying the GPT-2 language model, Carlini et al. (2020)
                                        (manually) identified just 600 memorized training examples out of a 40GB training dataset. This
                                        attack establishes a (loose) lower bound that at least 0.00000015% of the dataset is memorized. In
                                        contrast, we are able to show that the 6 billion parameter GPT-J model (Black et al., 2021; Wang and
                                        Komatsuzaki, 2021) memorizes at least 1% of its training dataset: The Pile (Gao et al., 2020).
                                        In addition to prior work’s loose estimates of models’ memorization capabilities, there is a limited
                                        understanding of how memorization varies across different neural language models and datasets
                                        of different scales. Prior studies of memorization in language models either focus on models or
                                        datasets of a fixed size (Carlini et al., 2019; Zhang et al., 2021; Thakkar et al., 2020) or identify a
                                        narrow memorization-versus-scale relationship (Carlini et al., 2020; Lee et al., 2021). While McCoy
                                        et al. (2021) broadly study the extent to which language models memorize, their focus is on how to
                                        avoid the problem and ensure novelty of model outputs, rather than on studying model risk through
                                        identifying the maximal amount of data memorization.

                                            ∗
                                                Authors ordered alphabetically.


                                                                                                 1
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 3 of 20
Published as a conference paper at ICLR 2023




This paper addresses both of the above open questions by comprehensively quantifying memorization
across three families of neural language models and their associated datasets. We leverage access to
each model’s original training set to provide order-of-magnitude more precise bounds on the amount
of extractable data that an adversary could recover than in prior works.
We first construct a set of prompts from the model’s training set. By feeding prefixes of these prompts
into the trained model, we check whether the model has the ability to complete the rest of the example
verbatim. This allows us to measure memorization across models, datasets, and prompts of varying
sizes. We identify three properties that significantly impact memorization:
 1. Model scale: Within a model family, larger models memorize 2-5× more than smaller models.
 2. Data duplication: Examples repeated more often are more likely to be extractable.
 3. Context: It is orders of magnitude easier to extract sequences when given a longer context.
Our analysis suggests that future research on neural language modeling will need to take steps to
prevent future (larger) models from memorizing their training datasets.

2     R ELATED W ORK
There is extensive prior work that qualitatively studies memorization in neural language models.
Prior work has demonstrated extraction attacks that recover memorized data including URLs, phone
numbers, and other personal information (Carlini et al., 2020; Ziegler, 2021)—or synthetically
injected “canaries” (Carlini et al., 2019; Henderson et al., 2018; Thakkar et al., 2020; Thomas
et al., 2020). However most of these works are qualitative and aim to demonstrate the existence of
extractable data, rather than precisely quantifying how much models memorize. For example, the
unprompted memorization evaluation of Carlini et al. (2020) found just 600 examples of memorization
in GPT-2. Our paper aims to establish tighter bounds on the fraction of a dataset that is memorized.
Our analysis is relevant to the broad literature on privacy attacks on machine learning. For example,
membership inference attacks (Shokri et al., 2017; Yeom et al., 2018) let an adversary detect the
presence of a given example in a model’s training set; other forms of data leakage let an adversary
learn dataset properties (Ganju et al., 2018; Fredrikson et al., 2015). We focus on extraction attacks
due to their relevance for language modeling—extraction implies significant leakage from a model,
and grows with data duplication (Lee et al., 2021), a common feature of large-scale text datasets.
Various definitions of memorization in deep neural networks have been studied in prior work (Carlini
et al., 2019; 2020; Feldman and Zhang, 2020; Zhang et al., 2021). A detailed comparison with those
existing formulations is presented in Section 3.1. One leading general memorization definition is
differential privacy (Dwork et al., 2006), which formalizes the idea that removing any one example
from the training set should not change the trained model. However, while differential privacy
protects a single user’s private information, it is ineffective for preventing memorization of highly
duplicated data, and does not capture the complexity of social, linguistic data (Brown et al., 2022).
Also, differentially private learning algorithms (Abadi et al., 2016) generally suffer from expensive
computation, slow convergence, and poor model utility, despite recent advances (Anil et al., 2021).
In concurrent work, Kandpal et al. (2022) study how often models emit memorized data as a function
of data duplication. Their analysis focuses on evaluating why training data extraction attacks succeed.
In contrast, we explicitly prompt models with training data prefixes in order to measure memorization
in the worst case, something that a practical attack cannot necessarily do.
Prior scaling hypotheses. Our motivation to study scaling phenomena stems from anecdotal
evidence in prior work that memorization ability relates to various aspects of scale. In particular, our
analysis on model scale is informed by preliminary experiments in (Zhang et al., 2017; Carlini et al.,
2020), our data duplication experiments follow in the line of Lee et al. (2021), and our context length
experiments build on hypotheses by Carlini et al. (2020); Ziegler (2021).

3     M ETHODOLOGY
3.1   D EFINITION OF M EMORIZATION

To begin, we first select a precise definition for memorization:


                                                   2
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 4 of 20
Published as a conference paper at ICLR 2023




Definition 3.1. A string s is extractable with k tokens of context from a model f if there exists a
(length-k) string p, such that the concatenation [p || s] is contained in the training data for f , and f
produces s when prompted with p using greedy decoding.

For example, if a model’s training dataset contains the sequence “My phone number is 555-6789”,
and given the length k = 4 prefix “My phone number is”, the most likely output is “555-6789”, then
this sequence is extractable (with 4 words of context). We focus on greedy sampling in this paper, and
verify in Section 4.1 that our choice of decoding strategy does not significantly impact our results.
While prior work proposed other definitions, we prefer ours in this paper as it is more actionable.
Some memorization definitions, including lower-bounds on differential privacy (Dwork et al., 2006;
Jagielski et al., 2020; Nasr et al., 2021) or counterfactual memorization (Feldman and Zhang, 2020;
Zhang et al., 2021), require training hundreds or thousands of models, which is impractical for
large language models. Alternatively, computing exposure (Carlini et al., 2019) requires thousands
of generations per sequence, and is only designed for carefully crafted training examples.Finally,
k-eidetic memorization (Carlini et al., 2020), is a useful definition for unprompted memorization, but
less useful for tightly bounding memorization by prompting with training data (as we will do). Future
work might explore how our three scaling observations apply to other definitions of memorization.

3.2   S ELECTION OF E VALUATION DATA

Having chosen a definition, we next describe our evaluation procedure. Ideally, we would consider
every sequence x = [p || s] in the model’s training dataset (where x has been split into a length-k
prefix p and a suffix s). For each sequence, we would report if the model exactly reproduces s when
prompted with p, following Definition 3.1. Unfortunately, performing this test on every sequence
in the training data would be prohibitively expensive. For example, the largest 6 billion parameter
GPT-Neo model has a throughput of roughly one 100-token generation per second on a V100 GPU.
Extrapolating to the 800GB training dataset, this would require over 30 GPU-years of compute.
Instead, we query on a smaller subset of the training data, that still produces statistically confident
estimates. In this paper we randomly choose subsets of roughly 50,000 sequences, allowing us to
efficiently run inference in just a few hours. The primary criteria when choosing a subset of the
training data is to obtain a representative sample that allows us to draw meaningful conclusions from
the data. We consider two approaches to constructing a subset of the data.
Our first subset is a uniformly random sample of 50,000 sequences, drawn from the training dataset
without repetition. While a uniform sample is useful to estimate the absolute amount of memorization
in a model, it is poorly suited for studying how memorization scales with data properties that are not
uniformly represented in the training set. For example, prior work has identified that data duplication
(i.e., how often the same sequence is repeated either exactly or approximately) is an important factor
for memorization. Yet, because the frequency of training data duplication decays extremely quickly
(Lee et al., 2021), a uniformly random sample of 50,000 sequences (accounting for ≤ 0.02% of the
dataset) is unlikely to contain any signal that would allow us to accurately measure the tail of this
repeated data distribution. A similar concern arises for measuring how memorization scales with
prompt length, since very long sentences account for only a small fraction of the training set.
Therefore, our second subset is a random sample normalized by both sequence lengths and du-
plication counts, which allows us to accurately measure memorization of large language mod-
els in the worst-case, on highly duplicated data with long prompts. For each sequence length
` ∈ {50, 100, 150, . . . , 500}, and integer n, we select 1,000 sequences of length ` that are contained
in the training dataset between 2n/4 and 2(n+1)/4 times. We do this until we reach an n for which
1,000 sequences are not available. This gives us 1,000 sequences that repeat between 6 and 8 times
(≈ 211/4 and ≈ 212/4 ) and also 1,000 sequences that repeat between 724 and 861 times (≈ 238/4
and ≈ 239/4 ). This biased sampling allows us to more accurately measure memorization as a function
of a sample’s duplication factor and prompt length, without querying the entire dataset. Note that
constructing this duplicate-normalized data subset requires some work, as efficiently identifying
duplicate substrings in an 800GB training dataset is computationally challenging. We make use of
the suffix array construction from Lee et al. (2021) (see Appendix).
For each length from 50 to 500 tokens, we collect 50,000 examples duplicated varying numbers of
times, totaling roughly 500,000 sequences. For each sequence of length `, we prompt the model with


                                                   3
                        Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 5 of 20
                        Published as a conference paper at ICLR 2023




                        1
                                     GPT-Neo                         6B                                    6B
Fraction extractable
                       0.8           Baseline                        2.7B                                  2.7B
                                                                     1.3B                                  1.3B
                                                                     125M                                  125M
                       0.6                                           Baseline                              Baseline
                       0.4

                       0.2

                             120M     345M 762M 1.5B 2.7B   6B        101          102          103   50      100           200      500
                                           Model Size              # repetitions in training data              Prompt length
                                            (a)                                 (b)                                   (c)
                        Figure 1: We prompt various sizes of GPT-Neo models (green) with data sampled from their training
                        set—The Pile, and normalized by sequence lengths and duplication counts. As a baseline (yellow),
                        we also prompt the GPT-2 family of models with the same Pile-derived prompts, even though these
                        models were trained on WebText, a different training dataset. (a) Larger models memorize a larger
                        fraction of their training dataset, following a log-linear relationship. This is not just a result of better
                        generalization, as shown by the lack of growth for the GPT-2 baseline models. (b) Examples that are
                        repeated more often in the training set are more likely to be extractable, again following a log-linear
                        trend (baseline is GPT-2 XL). (c) As the number of tokens of context available increases, so does our
                        ability to extract memorized text (baseine is GPT-2 XL).


                        the first ` − 50 tokens and report the sequence as “extractable” if the model exactly emits the next 50
                        token suffix of this sequence. Fifty tokens corresponds to an average of 127 characters or 25 wordsin
                        the GPT-Neo training set, well over the length of a typical English sentence. Finally, we compute the
                        average probability that a sequence is extractable by averaging over all lengths `.


                        4       E XPERIMENTS

                        We primarily study the GPT-Neo model family (Black et al., 2021; Wang and Komatsuzaki, 2021)
                        trained on the Pile dataset (Gao et al., 2020). The GPT-Neo models are causal language models
                        trained with the objective of predicting the next token in a sequence given the previous ones. They
                        come in four sizes: 125 million, 1.3 billion, 2.7 billion and 6 billion parameters.1 The Pile is a dataset
                        of 825GB of text collected from various sources (e.g., books, Web scrapes, open source code). Prior
                        to the recent release of OPT (Zhang et al., 2022), the GPT-Neo models were the largest language
                        models available for public download, and The Pile is the largest public text dataset available.

                        4.1         B IGGER M ODELS M EMORIZE M ORE

                        We begin by considering the impact of model size on memorization, expanding on prior studies
                        which qualitatively established a relationship between the size of GPT-2 models and their ability to
                        memorize <30 URLs (Carlini et al., 2020). In contrast, we study a million model generations in
                        order to describe how model scale relates to memorization.
                        Results. We first study our biased random data sample normalized by duplication count and
                        sequence lengths. The results of this experiment are given in Figure 1a. The y-axis reports the
                        fraction of generations which exactly reproduce the true suffix for their prompt, averaged over all
                        prompt and sequence lengths in our evaluation set. Because our biased sampling over-represents
                        duplicated strings, the absolute degree of memorization in Figure 1a is not particularly important
                        here—rather, we are interested in how memorization varies with scale.2 We find that larger models
                        memorize significantly more than smaller models do, with a near-perfect log-linear fit (R2 of 99.8%):
                        a ten fold increase in model size corresponds to an increase in memorization of 19 percentage points.
                            1
                              As of February 2022, there is also a 20 billion parameter variant. Unfortunately this model uses a different
                        training setup and tokenizer making it difficult to apply here.
                            2
                              We repeat this experiment for a uniformly random subset of the data in Figure 2a.


                                                                                 4
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 6 of 20
Published as a conference paper at ICLR 2023




To confirm that larger models are indeed memorizing more data, and not simply generalizing better,
we repeat the analysis with the GPT-2 model family as a baseline. The GPT-2 models are similarly
sized, and also trained on Internet-scraped data. If our “larger models memorize more” result was
due to the predictive strength of larger models, and not the memorization of specific training data,
we would expect a similar relationship between comparably sized GPT-2 models trained on similar
data. Put differently, this baseline allows to establish what fraction of the training data is sufficiently
“easy” that any language model can correctly predict the 50-token suffix, even if the example has not
been seen during training. For example, a language model trained on multiple examples of number
sequences can likely correctly complete some other unseen number sequences. We find that GPT-2
correctly completes approximately 6% of the examples in our evaluation set, compared to 40% for
the similarly sized 1.3B parameter GPT-Neo model. A qualitative analysis (see examples in Appendix
Figure 15) suggests that examples “memorized” by GPT-2 are largely uninteresting sequences (e.g.,
number sequences, repetitions of the same few tokens, or common phrases). Therefore, we conclude
that larger models have a higher fraction of extractable training data because they have actually
memorized the data; it is not simply that the larger models are more accurate.

4.2   R EPEATED S TRINGS ARE M EMORIZED M ORE

Prior work provides preliminary evidence that memorization in language models increases with the
number of times sequences are repeated in the training set (Carlini et al., 2020; Lee et al., 2021). We
expand on this observation and quantitatively measure the effect of data duplication on memorization.
Using our duplication-normalized data sample, we measure the fraction of sequences which are
extractable, for buckets of sequences duplicated between 2 and 900 times. Each bucket consists of
1,000 distinct sentences, and we compute the average amount of memorization for each bucket.
Results. Figure 1b shows our results, aggregated over all sequence lengths. We observe a clear
log-linear trend in memorization. While models rarely regurgitate strings that are repeated only a few
times, this probability increases severely for highly duplicated strings. The small memorization values
at low numbers of repetitions corroborates the positive impact of training dataset deduplication on
memorization observed by Lee et al. (2021). However, we find that memorization does still happen,
even with just a few duplicates—thus, deduplication will not perfectly prevent leakage. While this
relationship is perhaps obvious, and has been corroborated for specific training examples in prior
work (Carlini et al., 2019; 2020), our results show that it holds across the entire training set.

4.3   L ONGER C ONTEXT D ISCOVERS M ORE M EMORIZATION

The previous two questions evaluated how data collection and model training decisions impact the
leakage of a model’s training data when it is provided a fixed number of tokens from a sequence
as context. As a result, those experiments suggest particular actions that could be taken to mitigate
memorization (by reducing model size, or limiting the number of duplicate examples).
However, even when the model is fixed, it is possible to vary the amount of extractable training data
by controlling the length of the prefix passed to the model. By studying how the number of tokens of
context impacts extractability, we demonstrate the difficulty of discovering memorization—language
models may only exhibit their memorization under favorable conditions.
Results. In Figure 1c, we observe that the fraction of extractable sequences increases log-linearly
with the number of tokens of context. For example, 33% of training sequences in our evaluation
set are extractable from the 6B model at 50 tokens of context, compared to 65% with 450 tokens of
context. We call this the discoverability phenomenon: some memorization only becomes apparent
under certain conditions, such as when the model is prompted with a sufficiently long context.
The discoverability phenomenon may seem natural: conditioning a model on 100 tokens of context is
more specific than conditioning the model on 50 tokens of context, and it is natural that the model
would estimate the probability of the training data as higher in this situation. However, the result is
that some strings are “hidden” in the model and require more knowledge than others to be extractable.
From one point of view, it is good that some memorization is difficult to discover. This makes it
harder for attackers to perform training data extraction attacks (Carlini et al., 2020), or otherwise
exploit memorization. Indeed, if an exact 100 token prompt is required to make the model output a
given string, then, in practice, an adversary will likely be unable to perform the attack. The difficulty


                                                    5
   Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 7 of 20
   Published as a conference paper at ICLR 2023




                       0.07                                                             0.07                                                              1.0
                                                                                                                                                                 Beam                 Full dataset
                                     Random GPT-Neo                                                  Random                                                      Arg max              Continuation
                       0.06          Random GPT2                                        0.06           6B                                                 0.8
Fraction extractable




                                                                 Fraction extractable
                                                                                                       2.7B




                                                                                                                                   Fraction extractable
                       0.05                                                             0.05           1.3B                                               0.6
                       0.04                                                             0.04           125M
                       0.03                                                                            Baseline
                                                                                                                                                          0.4
                                                                                        0.03
                       0.02
                                                                                        0.02                                                              0.2
                       0.01
                                                                                        0.01                                                              0.0
                       0.00                                                                                                                                     101 102 103         101 102 103
                              120M    345M 762M 1.5B 2.7B   6B                                 100        200        500    1000
                                          Model Size                                                      Sequence length                                          # repetitions in data

                                          (a)                                                                  (b)                                                         (c)
   Figure 2: (a) Fraction of sequences extracted as a function of model scale where we sample uniformly
   from the training set. (b) Fraction of sequences extracted as we vary the length of the prompt. For each
   sequence length n, n-50 tokens are used as the prefix, and we check for extraction of the remaining
   50 tokens. (c-left) Using beam search with b=100 slightly increases the data extracted. (c-right) We
   observe considerably more memorization when checking whether the generated sequence occurs
   anywhere in the entire training set (Section C). However, this approach is very computationally
   expensive so we do not use it for our other experiments.


   in discovering memorization also reduces the likelihood of non-adversarial training data regurgitation.
   For example, the GitHub Copilot model (Chen et al., 2021) reportedly rarely emits memorized code
   in benign situations, and most memorization occurs only when the model has been prompted with
   long code excerpts that are very similar to the training data (Ziegler, 2021). Practitioners building
   language generation APIs could (until stronger attacks are developed) significantly reduce extraction
   risk by restricting the maximum prompt length available to users.
   Viewed differently, however, the difficulty of discovering memorization can also harm our ability
   to audit privacy in machine learning models. Because provably-correct approaches for privacy-
   preserving training of machine learning models are applied only rarely in practice (Abadi et al.,
   2016; Thakkar et al., 2020; Ramaswamy et al., 2020), it is common to attempt post-hoc privacy
   auditing (Jayaraman and Evans, 2019; Jagielski et al., 2020; Nasr et al., 2021). Our results suggest
   that correctly auditing large language models likely requires prompting the model with training data,
   as there are no known techniques to identify the tail of memorized data without conditioning the
   model with a large context. Improving upon this limitation is an interesting problem for future work.

    4.4                       A LTERNATE E XPERIMENTAL S ETTINGS

   In this section, we briefly review other strategies that we could have used to quantify memorization.
   Random dataset sampling. The majority of this paper uses subsets of the training data that were
   explicitly sampled according to training data duplication frequency. Now, we consider how our
   results would differ if we chose a truly random subset of the training data, where each sequence is
   sampled uniformly, instead of sampling a duplicate-normalized dataset. Specifically, we randomly
   sample 100,000 sequences of varying lengths from The Pile dataset, then prompt the model and test
   for memorization as before (more details in Appendix C).
   Figure 2a and Figure 2b present the results. We observe similar qualitative trends with model scale
   and context length as in Figure 1. Larger models memorize more training examples than smaller
   models—and much more than the GPT-2 models that were not trained on The Pile. Similarly,
   providing more context to a model increases the likelihood we discover memorization. We can extract
   the last 50 tokens of a length-1000 sequence with 7% probability for the largest GPT-J 6B model,
   compared to 4% probability for the smallest 125M GPT-Neo model. (And both of these are much
   larger than the 2% probability of extraction for the 1.5B parameter GPT2-XL model.) These results,
   taken together, allow us to estimate a lower bound that there is at least 1% of The Pile dataset that is
   extractable by the 6B GPT-J model, but not by GPT-2 XL.
   Alternate decoding strategies. We have defined memorization as a model’s ability to generate
   the true continuation when choosing the most likely token at every step of decoding. Yet, this
   greedy decoding strategy does not produce the overall most likely sequence. Many language model


                                                                                                           6
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 8 of 20
Published as a conference paper at ICLR 2023




 Prompt                                    Continuation (== 6B)                   2.7B                                   1.3B                            125M

 Gallery "Though defensive violence will   condemned as ridiculous, and           condemned as ridiculous, and then      tried in the mind of a child,   and foremost a man's duty to
 always be 'a sad necessity' in the eyes   then dismissed as trivial, until       dismissed as trivial, before being     and then it is tried in the     his fellow man. It is a duty to
 of men of principle, it would be still    finally it becomes what everybody      accepted as the most important thing   mind of a man."- Thomas         be a man of principle, and
 more unfortunate if wrongdoers should     knows." - William James "This is       in the world."- George Bernard         Paine "The only thing           to be a man of
 dominate just men."- St. Augustine "A     the real task before us: to reassert   Shaw “The ultimate measure of a man    necessary for the triumph       principle, and to be a man of
 new idea is first                         our commitment as a nation to a        is not where he stands in moments of   of evil is for good men to do   principle, and to be a man of
                                           law higher than our own,               comfort and convenience, but where     nothing."- Edmund Burke "       principle, and to be a

 _GPL(crypto_unregister_alg); int          down_write(&crypto_alg_sem);           list_for_each_entry(q,                 q = kzalloc(sizeof(*q),         struct crypto_template *tmpl
 crypto_register_template(struct           list_for_each_entry(q,                 &crypto_alg_list, list) { if (tmpl-    GFP_KERNEL); if (!q)            = crypto_template_new(tmpl)
 crypto_template *tmpl) { struct           &crypto_template_list, list) { if (q   >name && tmpl->name!= q-               goto out; q->alg = tmpl-        ; if (err) return err; tmpl-
 crypto_template *q; int err = -EEXIST;    == tmpl)                               >alg.cra_name)                         >alg; q->base                   >tmpl = q; tmpl->tmpl->tm


Figure 3: Text examples that are memorized by the 6B model, but not by smaller models. Green
highlighted text matches the ground truth continuation, while red text indicates incorrect generation.


applications use other decoding strategies, such as beam search to find the generation with highest
likelihood. To understand how our choice of decoding strategy affects the amount of memorization
we measure, we compare greedy decoding with beam search in Figure 2(c). We find that using
beam search with 100 beams results in marginally more extracted memorization. The difference in
extractable memorization is just under 2 percentage points on average, with a maximum of 5.6%.
Interestingly, beam search and greedy decoding generated the same output 45% of the time.
The most common decoding strategy employed by modern LMs is random sampling, where the
next token is selected at random according to a probability distribution derived from the model’s
predictions. McCoy et al. (2021) found that random sampling resulted in generated text with a greater
number of novel n-grams. Since the goal of our study is to maximize discoverability—an antithetical
goal to maximizing linguistic novelty—we do not present experiments that use random sampling.
Alternate definition of extractability. Our main experiments report a sequence as “extractable” if
the model’s generation is identical to the true suffix of the considered training example. However it is
possible this suffix is still present (elsewhere) in the dataset. We now consider a loose lower bound
on memorization that considers a sequence memorized if the generation [p||f (p)] from a prompt p is
contained anywhere in the training dataset. Searching within the entire dataset finds more memorized
content than comparing with the ground truth (Figure 2c). For examples at 100 repetitions, 32.6% of
outputs are contained somewhere in the dataset but just 15.8% match the ground truth continuation.


4.5        Q UALITATIVE E XAMPLES OF M EMORIZATION

In Figure 3, we present qualitative examples that are only memorized by the largest (6B) model, but
not the smaller ones. We highlight some interesting patterns in these sequences: while the generations
from the smaller models do not match the training data, they are generally thematically-relevant and
locally consistent. However, a closer inspection reveals that those generations are only syntactically
sound, but semantically incorrect. Appendix Figure 8 shows further examples of sequences that
are memorized by all the models. We found most of these universally-memorized sequences to be
“unconventional” texts such as code snippets or highly duplicated texts such as open source licenses.
Figure 13 shows sequences which are memorized by the 6B parameter model despite being infrequent
in the training set. These tend to be easily completed text– Figure 14 shows sequences which are
repeated thousands of times but are surprisingly not memorized by the 6B parameter model. Many of
these are mostly correctly completed, only differing on semantically unimportant characters.


5       R EPLICATION S TUDY

The above analysis provides evidence that memorization scales log-linearly with model size, data
duplicates, and context length. We now replicate this analysis for other language models trained with
different datasets and training objectives, namely: (1) the T5 family of models trained on the C4
dataset (Raffel et al., 2020), (2) models from Lee et al. (2021), trained on a deduplicated version of
C4, and (3) the OPT family of models (Zhang et al., 2022), also trained on the Pile. We expected our
results to cleanly generalize across settings, and this is indeed true for model scale. Yet, the situation
is more complicated when considering data duplication, due to training set idiosyncrasies.


                                                                                            7
   Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 9 of 20
   Published as a conference paper at ICLR 2023




                                                                              0.10     T5 Base                                               0.6    C4 Original
                       0.045                                                           T5 Large                                                     C4 NearDup
                                                                              0.08                                                           0.5
Fraction extractable




                                                       Fraction extractable




                                                                                                                      Fraction extractable
                       0.040                                                           T5 XL                                                        C4 ExactSubtr
                       0.035                                                                                                                 0.4
                                                                              0.06
                       0.030                                                                                                                 0.3
                       0.025                                                  0.04
                                                                                                                                             0.2
                       0.020                                                  0.02                                                           0.1
                       0.015
                                                                              0.00                                                           0.0
                               220M         770M    2.8B                                    101                102                                     101          102           103
                                       Model Size                                    # repetitions in training data                                # repetitions in original C4
                                      (a)                                                    (b)                                                             (c)
   Figure 4: (a) Masked language model objective: Larger models have a higher fraction of sequences
   extractable on T5. (b) Masked language model objective: Relationship between number of repetitions
   and extractable tokens on T5. (c) Causal language model objective: Relationship between number of
   repetitions and memorization on language models trained with deduplicated data.



    5.1                        T5 M ASKED L ANGUAGE M ODELING

   Model and dataset. The T5 v1.1 models are masked encoder-decoder models trained to reproduce
   randomly deleted spans from an input sequence. The models vary in size from 77M to 11B billion
   parameters, and are trained on C4—a 806 GB curated version of English web pages from the Common
   Crawl. The largest T5 model (11B parameters) is the largest publicly available masked language
   model. T5 models are thus good candidates for studying how memorization scales with model size.
  We must first define what is meant by “extractable data” for the masked language modeling task. T5
  models are trained by removing a random 15% of tokens from each training sequence (i.i.d), and the
  model must then “fill in the blanks” to restore the tokens that were dropped from the input. As a
  result of this different training objective, Definition 3.1 is not directly applicable: the model does not
  operate on a prefix and output a suffix. We instead call a sequence memorized if the model perfectly
  solves the masked language modeling task on that sequence. For example, we call a 200-token
  sequence memorized if the model can use the 170 (= 200 · 0.85)) tokens of context to perfectly
  predict the remaining 30 tokens (= 200 · 0.15). Because this token-dropping procedure is stochastic,
  it is possible that one set of dropped tokens might yield an output of “memorized” and another might
  not. For simplicity, we inspect only one set of masked tokens per sequence; because we are already
  averaging over 50,000 sequences this additional randomness does not harm the results of our analysis.
   Results. In Figure 4a, we reproduce the model scaling effect (from Figure 1a) for T5 models. Larger
   models similarly have an increased ability to perfectly solve the masked prediction task. Surprisingly,
   while a scaling trend does hold here as well, the absolute memorization in masked models is an
   order of magnitude lower than for comparably sized causal language models. For example, the 3B
   parameter T5-XL model memorizes 3.5% of sequences repeated 100 times, whereas the GPT-Neo
   2.7B model memorizes 53.6% of sequences repeated 100 times (with 150 tokens of context).
   Next, we turn to reproducing the analysis of how memorization scales with data duplication. The
   situation here becomes significantly less clear. As shown in Figure 4b, sequences duplicated more
   often tend to be easier to memorize, but there is no monotonic scaling relationship. Compared to
   the case of the GPT-Neo models trained on The Pile, the relation between data duplication counts
   and memorization for T5 models trained on C4 exhibits large variance. This variance is statistically
   significant: sequences repeated 159 to 196 times are memorized with probability less than 5.1% with
   99.7% confidence (three standard deviations from the mean), however sequences repeated 138 to 158
   times (that is, less often) are memorized with probability at least 6.2% (also with 99.7% confidence).
   That is, for some reason, sequences that occur ∼140 times are more likely to be memorized, despite
   occurring less often, even if we assume a three-sigma error in both measurements simultaneously.
   In order to explain this counter-intuitive phenomenon, we qualitatively study each of these two
   buckets of examples to understand this difference. We find that most of the duplicate examples
   repeated 138-158 times consist mainly of whitespace tokens. These sequences are thus much easier
   to predict correctly than other sequences, even if they are repeated more often. This effect, to a lesser
   extent, can be found in other buckets which contain many approximately near duplicates.


                                                                                              8
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 10 of 20
Published as a conference paper at ICLR 2023




5.2       L ANGUAGE M ODELS T RAINED ON D EDUPLICATED DATA

Model and dataset. The models used in Lee et al. (2021) are 1.5B parameter causal language
models. This model family consists of one model trained on C4 (the same dataset as T5), one
model trained on a version of C4 that was deduplicated by removing all documents which were
near-duplicates of other documents, and one model trained on a version of C4 that was deduplicated
by deleting any string of length-50 tokens that occurred more than once. Lee et al. (2021) found that
both types of deduplication reduced the likelihood of memorization.
Results. We were most interested in whether models trained on deduplicated data would still exhibit
increased memorization of examples which were repeated frequently in the original, non-deduplicated
C4 dataset (e.g., because the deduplication missed some near-duplicates). Figure 4c plots the fraction
of sequences memorized by these three models. We draw two interesting conclusions from this data.
First, we confirm that models trained on deduplicated datasets memorize less data than models trained
without deduplication. For example, for sequences repeated below 35 times, the exact deduplicated
model memorizes an average of 1.2% of sequences, compared to 3.6% without deduplication, a
statistically significant (p < 10−15 ) decrease by a factor of 3×. Second, while deduplication does
help for sequences repeated up to ∼100 times, it does not help for sequences repeated more often!
The extractability of examples repeated at least 408 times is statistically significantly higher than any
other number of repeats before this. We hypothesize that this is due to the fact that any deduplication
strategy is necessarily imperfect in order to efficiently scale to hundreds of gigabytes of training
data. Thus, while it may be possible to remove most instances of duplicate data, different and valid
definitions of duplicates can mean deduplication is not exhaustive.

5.3       L ANGUAGE M ODELS T RAINED ON A M ODIFIED V ERSION OF THE P ILE

Model and dataset. We finally study the OPT family of models (Zhang et al., 2022), that vary from
125 million to 175 billion parameters.3 These models were trained on a 800GB dataset that overlaps
with The Pile but is not identical and contains data from many new sources, while also removing
some data from the Pile. This dataset was also deduplicated prior to training, and so we do not expect
to see duplicate sequences memorized (much) more than sequences repeated only a few times.

Results. Overall, we find that while there are nearly identical scaling trends to those we found
for GPT-Neo’s model family, the effect size is orders-of-magnitude smaller (figure 7). Even the
66 billion parameter model memorizes a smaller fraction of The Pile than the smallest 125 million
parameter GPT Neo model. This suggests two possible conclusions: (a) careful data curation and
training can mitigate memorization, or (b) even slight shifts in data distribution can significantly
alter what content gets memorized. Without direct access to the original training dataset, we can not
distinguish between these two conclusions and hope future work will be able to resolve this question.

6       C ONCLUSION

Our paper presents the first comprehensive quantitative analysis of memorization in large language
models, by re-processing the training set to find memorized data. Our work has two broad conclusions.
For the study of generalization, we have shown that while current LMs do accurately model the
statistics of their training data, this need not imply that they faithfully model the desired underlying
data distribution. In particular, when the training data distribution is skewed (e.g., by containing many
duplicates of some sequences) larger models are likely to learn these unintended dataset peculiarities.
It is therefore important to carefully analyze the datasets used to train ever larger models, as future
(larger) models are likely to remember even more training details than current (smaller) models.
For the study of privacy, our work indicates that current large language models memorize a significant
fraction of their training datasets. Memorization scales log-linear with model size—by doubling the
number of parameters in a model we can extract a significantly larger fraction of the dataset. Given
that current state-of-the-art models contain more than 200× as many parameters as the largest 6B
parameter model we analyze, it is likely that these even larger models memorize many sequences
    3
        We were unable to access the 175 billion parameter model; we run OPT models up to 66 billion parameters.


                                                         9
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 11 of 20
Published as a conference paper at ICLR 2023




that are repeated just a handful of times. At the same time, we have shown that this memorization is
often hard to discover, and for an attack to actually extract this data it will be necessary to develop
qualitatively new attack strategies. Fortunately, it appears that (for the comparatively small models we
study) training data inserted just once is rarely memorized, and so deduplicating training datasets (Lee
et al., 2021) is likely a practical technique to mitigate the harms of memorization.

R EFERENCES
Martin Abadi, Andy Chu, Ian Goodfellow, H Brendan McMahan, Ilya Mironov, Kunal Talwar, and
 Li Zhang. Deep learning with differential privacy. In Proceedings of the 2016 ACM SIGSAC
 conference on computer and communications security, pages 308–318, 2016.

Rohan Anil, Badih Ghazi, Vineet Gupta, Ravi Kumar, and Pasin Manurangsi. Large-scale differen-
  tially private BERT. arXiv preprint arXiv:2108.01624, 2021.

Sid Black, Leo Gao, Phil Wang, Connor Leahy, and Stella Biderman. GPT-Neo: Large Scale Autore-
  gressive Language Modeling with Mesh-Tensorflow, March 2021. URL https://doi.org/
  10.5281/zenodo.5297715. If you use this software, please cite it using these metadata.

Hannah Brown, Katherine Lee, Fatemehsadat Mireshghallah, Reza Shokri, and Florian Tramèr. What
  does it mean for a language model to preserve privacy?, 2022.

Nicholas Carlini, Chang Liu, Úlfar Erlingsson, Jernej Kos, and Dawn Song. The secret sharer: Evalu-
  ating and testing unintended memorization in neural networks. In USENIX Security Symposium,
  2019.

Nicholas Carlini, Florian Tramer, Eric Wallace, Matthew Jagielski, Ariel Herbert-Voss, Katherine
  Lee, Adam Roberts, Tom Brown, Dawn Song, Ulfar Erlingsson, et al. Extracting training data
  from large language models. arXiv preprint arXiv:2012.07805, 2020.

Mark Chen, Jerry Tworek, Heewoo Jun, Qiming Yuan, Henrique Ponde de Oliveira Pinto, Jared
 Kaplan, Harri Edwards, Yuri Burda, Nicholas Joseph, Greg Brockman, et al. Evaluating large
 language models trained on code. arXiv preprint arXiv:2107.03374, 2021.

Cynthia Dwork, Frank McSherry, Kobbi Nissim, and Adam Smith. Calibrating noise to sensitivity in
  private data analysis. In Theory of cryptography conference, pages 265–284. Springer, 2006.

William Fedus, Barret Zoph, and Noam Shazeer. Switch transformers: Scaling to trillion parameter
 models with simple and efficient sparsity. arXiv preprint arXiv:2101.03961, 2021.

Vitaly Feldman and Chiyuan Zhang. What neural networks memorize and why: Discovering the long
  tail via influence estimation. In Advances in Neural Information Processing Systems, 2020.

Matt Fredrikson, Somesh Jha, and Thomas Ristenpart. Model inversion attacks that exploit confidence
 information and basic countermeasures. In Proceedings of the 22nd ACM SIGSAC conference on
 computer and communications security, pages 1322–1333, 2015.

Karan Ganju, Qi Wang, Wei Yang, Carl A Gunter, and Nikita Borisov. Property inference attacks on
  fully connected neural networks using permutation invariant representations. In Proceedings of the
  2018 ACM SIGSAC conference on computer and communications security, pages 619–633, 2018.

Leo Gao, Stella Biderman, Sid Black, Laurence Golding, Travis Hoppe, Charles Foster, Jason Phang,
  Horace He, Anish Thite, Noa Nabeshima, et al. The Pile: An 800GB dataset of diverse text for
  language modeling. arXiv preprint arXiv:2101.00027, 2020.

Peter Henderson, Koustuv Sinha, Nicolas Angelard-Gontier, Nan Rosemary Ke, Genevieve Fried,
  Ryan Lowe, and Joelle Pineau. Ethical challenges in data-driven dialogue systems. In Proceedings
  of the 2018 AAAI/ACM Conference on AI, Ethics, and Society, pages 123–129, 2018.

Matthew Jagielski, Jonathan Ullman, and Alina Oprea. Auditing differentially private machine
 learning: How private is private SGD? arXiv preprint arXiv:2006.07709, 2020.


                                                  10
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 12 of 20
Published as a conference paper at ICLR 2023




Bargav Jayaraman and David Evans. Evaluating differentially private machine learning in practice.
  In 28th {USENIX} Security Symposium ({USENIX} Security 19), pages 1895–1912, 2019.
Nikhil Kandpal, Eric Wallace, and Colin Raffel. Deduplicating training data mitigates privacy risks
  in language models. arXiv preprint arXiv:2202.06539, 2022.
Katherine Lee, Daphne Ippolito, Andrew Nystrom, Chiyuan Zhang, Douglas Eck, Chris Callison-
  Burch, and Nicholas Carlini. Deduplicating training data makes language models better. CoRR,
  abs/2107.06499, 2021. URL https://arxiv.org/abs/2107.06499.
R. Thomas McCoy, Paul Smolensky, Tal Linzen, Jianfeng Gao, and Asli Celikyilmaz. How much do
  language models copy from their training data? Evaluating linguistic novelty in text generation us-
  ing RAVEN. CoRR, abs/2111.09509, 2021. URL https://arxiv.org/abs/2111.09509.
Milad Nasr, Shuang Song, Abhradeep Thakurta, Nicolas Papernot, and Nicholas Carlini. Adver-
 sary instantiation: Lower bounds for differentially private machine learning. arXiv preprint
 arXiv:2101.04535, 2021.
Colin Raffel, Noam Shazeer, Adam Roberts, Katherine Lee, Sharan Narang, Michael Matena,
  Yanqi Zhou, Wei Li, and Peter J. Liu. Exploring the limits of transfer learning with a unified
  text-to-text transformer. Journal of Machine Learning Research, 21(140):1–67, 2020. URL
  http://jmlr.org/papers/v21/20-074.html.
Swaroop Ramaswamy, Om Thakkar, Rajiv Mathews, Galen Andrew, H Brendan McMahan, and
  Françoise Beaufays. Training production language models without memorizing user data. arXiv
  preprint arXiv:2009.10031, 2020.
Reza Shokri, Marco Stronati, Congzheng Song, and Vitaly Shmatikov. Membership inference attacks
  against machine learning models. In 2017 IEEE Symposium on Security and Privacy (SP), pages
  3–18. IEEE, 2017.
Om Thakkar, Swaroop Ramaswamy, Rajiv Mathews, and Françoise Beaufays. Understanding
 unintended memorization in federated learning, 2020.
Aleena Thomas, David Ifeoluwa Adelani, Ali Davody, Aditya Mogadala, and Dietrich Klakow.
  Investigating the impact of pre-trained word embeddings on memorization in neural networks. In
  International Conference on Text, Speech, and Dialogue, pages 273–281. Springer, 2020.
Ben Wang and Aran Komatsuzaki. GPT-J-6B: A 6 Billion Parameter Autoregressive Language Model.
  https://github.com/kingoflolz/mesh-transformer-jax, May 2021.
Samuel Yeom, Irene Giacomelli, Matt Fredrikson, and Somesh Jha. Privacy risk in machine learning:
  Analyzing the connection to overfitting. In 2018 IEEE 31st Computer Security Foundations
  Symposium (CSF), pages 268–282. IEEE, 2018.
Chiyuan Zhang, Samy Bengio, Moritz Hardt, Benjamin Recht, and Oriol Vinyals. Understanding
  deep learning requires rethinking generalization. ICLR, 2017.
Chiyuan Zhang, Daphne Ippolito, Katherine Lee, Matthew Jagielski, Florian Tramèr, and Nicholas
  Carlini. Counterfactual memorization in neural language models. arXiv preprint arXiv:2112.12938,
  2021.
Susan Zhang, Stephen Roller, Naman Goyal, Mikel Artetxe, Moya Chen, Shuohui Chen, Christopher
  Dewan, Mona Diab, Xian Li, Xi Victoria Lin, et al. Opt: Open pre-trained transformer language
  models. arXiv preprint arXiv:2205.01068, 2022.
Albert Ziegler. GitHub Copilot: Parrot or crow? https://docs.github.com/en/github/copilot/research-
  recitation, 2021.




                                                11
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 13 of 20
Published as a conference paper at ICLR 2023




A    I MPLEMENTATION D ETAILS FOR DATASET C REATION

Intuitively speaking, it is straightforward to construct a dataset containing specifiable proportions of
documents at various frequencies. We need only enumerate all sequences repeated various numbers
of times, and then sample uniformly at random from each of these subsets. However in practice this
is difficult to do, given the scale of these datasets: even asking the question “how many times is this
sequence present in the training dataset” requires linear work for each query, and so repeating this
thousands of times for an 800GB dataset would be infeasible.
To do this efficiently, we build on the work of Lee et al. (2021) and construct a suffix array over the
training dataset. Such a data structure allows efficient queries to enumerate all sequences of length
k that are repeated between N and M times for any N, M . This can be accomplished by a linear
scan of the suffix array. As notation, write i as the pointer into the dataset at a certain position j of
the suffix array (i.e., A[j] = i), i0 as the index at position j + N (so that A[j + N ] = i0 ), and i00
as the index at position j + M (so that A[j + M ] = i00 . Then, if D[i : i + k] = D[i0 : i0 + k] but
D[i : i + k] 6= D[i00 : i00 + k], the sequence D[k : i + k] is guaranteed to appear between N and
M times in the dataset. As a result, we can scan linearly through the suffix array and enumerate all
values of j j to efficiently find all potential sequences repeated between N and M times. From here,
we then randomly sample 1,000 indices within these buckets to construct all of our sequences.


B    L ONGER D OCUMENTS A RE N OT E ASIER TO M EMORIZE THAN S HORTER
     D OCUMENTS
                         Fraction extractable




                                                0.6
                                                                            Seq len
                                                0.5                             100
                                                                                200
                                                                                300
                                                0.4                             400
                                                                                500
                                                      50   100        200             500
                                                           Prompt length
Figure 5: Longer sequences are not easier to extract. We compute the probability that an adversary
can extract a sequence as a function of the number of tokens of context available, when varying the
length of the sequences. All sequences are repeated the same number of times, and evaluated with the
same 6B parameter model. Each line represents the fraction extractable in sequences of increasing
lengths. Because all lines nearly perfectly overlap, longer sequences are not fundamentally “easier”
to extract than shorter sequences.


Intuitively, one might think that longer sequences are more likely in the tail of the distribution, and
if the model is trained to a low perplexity, then the tail of the distribution may be more likely to be
memorized. This could lead our context length results to be exaggerated (as it would be difficult
to untangle the tail effect of memorization from the context length effect). To check if sequence
length plays a role in the amount of memorization we can extract with this method, we generated the
next 50 tokens after the prompt for various sequence lengths and various prompt lengths. Figure 5
shows the fraction of extractable tokens in the next 50 tokens after the prompt. Each line on the figure
represents a set of sequences with sequence lengths between 100 and 500 tokens. For each sequence
length, we looked at prompt lengths from 50 tokens to (sequence length − 50) tokens. We do not see
significant differences between the fraction of extractable tokens with varying prompt lengths across
various sequence lengths.


                                                                 12
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 14 of 20
Published as a conference paper at ICLR 2023




 Prompt                                   Continuation (== 6B)                      2.7B                                       1.3B                              125M

 Gallery "Though defensive violence       condemned as ridiculous, and then         condemned as ridiculous, and then          tried in the mind of a child,     and foremost a man's duty to
 will always be 'a sad necessity' in      dismissed as trivial, until finally it    dismissed as trivial, before being         and then it is tried in the       his fellow man. It is a duty to
 the eyes of men of principle, it         becomes what everybody knows." -          accepted as the most important thing       mind of a man."- Thomas           be a man of principle, and
 would be still more unfortunate if       William James "This is the real task      in the world."- George Bernard             Paine "The only thing             to be a man of
 wrongdoers should dominate just          before us: to reassert our commitment     Shaw “The ultimate measure of a man        necessary for the triumph         principle, and to be a man of
 men."- St. Augustine "A new idea is      as a nation to a law higher than our      is not where he stands in moments of       of evil is for good men to do     principle, and to be a man of
 first                                    own,                                      comfort and convenience, but where         nothing."- Edmund Burke "         principle, and to be a

 _GPL(crypto_unregister_alg); int         down_write(&crypto_alg_sem);              list_for_each_entry(q,                     q = kzalloc(sizeof(*q),           struct crypto_template *tmpl
 crypto_register_template(struct          list_for_each_entry(q,                    &crypto_alg_list, list) { if (tmpl-        GFP_KERNEL); if (!q)              = crypto_template_new(tmpl)
 crypto_template *tmpl) { struct          &crypto_template_list, list) { if (q ==   >name && tmpl->name!= q-                   goto out; q->alg = tmpl-          ; if (err) return err; tmpl-
 crypto_template *q; int err =            tmpl)                                     >alg.cra_name)                             >alg; q->base                     >tmpl = q; tmpl->tmpl->tm
 -EEXIST;

 ions:before { content: "\f5eb"; } .fa-   "; } .fa-divide:before { content: "\f529"; "; } .fa-digg:before { content:           "; } .fa-digg:before { content:   "; } .fa-discus:before
 discord:before { content:                } .fa-dizzy:before { content:              "\f391"; } .fa-dochub:before { content:   "\f96c"; } .fa-dollar-            { content: "\f394"; } .fa-
 "\f392"; } .fa-discourse:before          "\f567"; } .fa-dna:before                  "\f394"; } .fa-docker:before {            sign:before { content:            drupal:before { content:
 { content: "\f393                                                                                                             "\f155"; } .fa-digniter           "\f395"; } .fa-drupal-discord

 new users as an exploration tour         book contains many real life examples     book is designed to give the reader a      is a good place to start for a    is a great way to get started
 and getting started guide, with          derived from the author's experience      firm understanding of the                  new user. A: I would              with a new project. A:
 exercises at the end of each             as a Linux system and network             technologies needed to install and         recommend                         I would suggest you
 chapter. For more advanced trainees      administrator, trainer and consultant.    manage Linux systems, using the            the book &quot;Linux Netw         to use the following: Create a
 it can be a desktop reference, and a     They hope these examples will help        varous available tools and techniques      orking" by David S. It            new project Create a new
 collection of the base knowledge         you to get a better understanding of      for the task. The book begins with a       is a very good book for           user Create a new user
 needed to proceed with system and        the Linux system and that you feel        rapid-fire introduction to the basic       beginners. A: I would             Create a new user Create
 network administration. This             encouraged to try out things on           principles of the Linux operating          recommend


Figure 6: Text examples that are memorized by the 6B model, but not by smaller models. Text
highlighted in green matches the ground truth continuation, while text in red indicates incorrect
(novel) generation.



C         A LTERNATE E XPERIMENTAL S ETTINGS

In this section, we study other strategies that we could have used to quantify memorization.
Random dataset sampling. In Section 4.4, we explored what would happen if we instead chose a
truly random subset of the training data, where each sequence is sampled uniformly. Specifically,
we randomly sample 100,000 sequences from The Pile dataset of length 100, 200, 500, and 1,000;
prompt the model with the first N − 50 tokens; and then test for memorization by verifying if the
model can emit the remaining 50 tokens perfectly. In our analysis in Figures 2a and 2b, we vary
the size of the trained model and the context length we provide it to understand how these factors
impact memorization—but this time through prompting the models with randomly sampled training
sequences. As expected, the absolute probability of memorization is much lower than in Figure 1
where we prompted models with training data from the sampled duplication-normalized subset.
We observe similar trends with model scale and context length as in our other results. Larger
models memorize more training examples than smaller models—and much more than the baseline
GPT-2 model that was not trained on The Pile. Similarly, providing more context to a model
increases the likelihood we can discover memorization. In Figure 2b, we prompt models with:
prompt length = sequence length − 50. We see that the longer prompts are easier to predict correctly
than shorter prompts. The baseline GPT-2 model is nearly twice as accurate on sequences of length
1,000 (prompt length = 950) compared to sequences of length 100 (prompt length = 50).
Alternate definition of extractability. Our main experiments report a sequence as “extractable” if
the model’s generated continuation is identical to the true suffix within that training example. This
method is a loose lower bound on memorization. Consider two sequences x1 , x2 both contained in
the training dataset. Suppose these two sequences share the same prefix, and differ only in the final
suffix; that is, x1 = [p||s1 ] and x2 = [p||s2 ]. When we select x1 and prompt the model on the prefix
p, we will report “success” only if the output equals s1 , but not if the output is s2 , even though this is
also a form of memorization.
We now consider how our results would change if we instead checked that the generation [p||f (p)]
from a prompt p was contained anywhere in the training dataset. This gives a strictly larger mea-
surement of memorization. By comparing these two methods (checking for memorization within
the ground truth continuation, and within the entire dataset), we can understand how the choice of
measurement affects the results in our experiments.


                                                                                             13
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 15 of 20
   Published as a conference paper at ICLR 2023




   Searching within the entire dataset finds more memorized content than comparing with the ground
   truth (Figure 2c). For examples at 100 repetitions 32.6% of outputs are contained somewhere in the
   dataset but just 15.8% match the ground truth continuation. This difference becomes more pronounced
   as the number of repetitions increases. The maximum difference between these approaches is 28.4%,
   at 2,200 repetitions.
  We refrain from using this approach for our main experiments, because this definition requires vastly
  larger computation resources; it requires querying whether hundreds of thousands of sequences are
  contained in an 800GB training dataset. Therefore, to promote reproducability, the remainder of this
  paper continues with testing the generated suffix against the single expected training suffix.

    D                     T EXT M EMORIZED BY O NLY S OME M ODELS

                       Table 1: The number of sequences memorized by one model, and not memorized by another.

                                                                          Not Memorized By
                                               Model   Memorized   125M      1.3B                        2.7B      6B
                                               125M        4,812        -      328                        295     293
                                               1.3B       10,391    5,907        -                      1,205   1,001
                                               2.7B       12,148    7,631    2,962                          -   1,426
                                               6B         14,792   10,273    5,402                      4,070       -


   Table 1 shows the total number of sequences that are memorized by one model but not another. Larger
   models have more uniquely memorized sequences, although every model has some memorization not
   shared by any other model. (Even the 125M model memorizes a few sequences that the 6B model
   does not.)

    E                    M EMORIZATION IN OPT M ODELS

                       0.25                                                                             0.25
                                                                                                                  66B
                       0.20                                                                             0.20      30B
                                                                                 Fraction extractable
Fraction extractable




                                                                                                                  6.7B
                                                                                                                  1.3B
                       0.15                                                                             0.15      350M
                                                                                                                  125M
                       0.10                                                                             0.10

                       0.05                                                                             0.05

                       0.00                                                                             0.00
                              125M 350M 1.3B    6.7B   30B 66B                                                     101          102          103
                                         Model Size                                                             # repetitions in training data
                                         (a)                                                                             (b)

   Figure 7: We prompt OPT models with data sampled from their training set. We use a prompt
   length of 100 here. (a) Fraction of sequences extracted as a function of model scale. (b) Fraction of
   sequences extracted as the number of repetitions of that sequence in the training set increases.


    F                    E XAMPLES OF M EMORIZED T EXTS
  We show examples of texts that are memorized by different models. We consider the case of 50-token
  prompts and 50-token generation. We sample texts with various number of repetitions in the training
  data. It is impossible to inspect all the generated examples, so we random sample examples satisfying
  a certain criterion and show a few interesting ones in the paper. Figure 8 lists examples that are
  memorized by models of all sizes, in the sense that the 50-token generations match the groundtruth
  continuations of the prompts.


                                                                     14
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 16 of 20
Published as a conference paper at ICLR 2023




           Prompt                                                                  Continuation (== 6B == 2.7B == 1.3B == 125M)

           use this file except in compliance with the License. * You              to in writing, software * distributed under the License is
           may obtain a copy of the License at * http://                           distributed on an "AS IS" BASIS, * WITHOUT WARRANTIES OR
           www.apache.org/licenses/LICENSE-2.0 * Unless required by                CONDITIONS OF ANY KIND, either express or implied. * See
           applicable law or agreed                                                the License for the specific language

           * * This program is free software; you can redistribute it              This program is distributed in the hope that it will be useful,
           and/or modify * it under the terms of the GNU General                   * but WITHOUT ANY WARRANTY; without even the implied
           Public License version 2 and * only version 2 as published              warranty of * MERCHANTABILITY or FITNESS FOR A
           by the Free Software Foundation. * *                                    PARTICULAR PURPOSE. See the *

           Privacy & Cookies Policy Privacy Overview This website                  of basic functionalities of the website. We also use third-
           uses cookies to improve your experience while you                       party cookies that help us analyze and understand how you
           navigate through the website. Out of these cookies, the                 use this website. These cookies will be stored in your
           cookies that are categorized as necessary are stored on                 browser only with your consent. You also have the option to
           your browser as they are essential for the working                      opt-out of

           \end{document}$ in front of $\documentclass[12pt]                       \usepackage{wasysym} \usepackage{amsfonts}
           {minimal} \usepackage{amsmath}

           Len int for shift := uint(0); ; shift += 7 { if shift >= 64 { return    } if iNdEx >= l { return io.ErrUnexpectedEOF } b := dAtA[
           ErrIntOverflowRaft

           </object> <nil key="sourceID"/> <int key="maxID">18</int>               IBDocument.Classes"> <object class="NSMutableArray"
           </object> <object class="IBClassDescriber" key="                        key="referencedPartialClassDescriptions"> <bool
                                                                                   key="EncodedWithXMLCoder">YES</bool


Figure 8: Text examples that are memorized by all the models: given 50-token prompts on the left,
the next 50 tokens generated by all the models match the groundtruth continuation.


Figure 9 lists examples that are memorized by the 6B model but not by smaller ones. Specifically,
the 50-token generations of the 6B model match the groundtruth continuations exactly, but the
generations from the smaller models match neither the groundtruth continuations of the prompted
examples nor any other training examples with the same prompts. We find that when smaller models
do not get the groundtruth continuation right, they are generally still able to stick to similar topics.
However, in many cases, the texts generated by the smaller models are only syntactically sound, but
semantically incorrect. Figure 10 and Figure 11 show more examples.
In Figure 12 we show examples that are only memorized by the smallest model, using similar criterion
as when we filter examples that are only memorized by the largest model. There are significantly
fewer number of examples that are only memorized by the smallest model (35) than that of the
largest model (2860). One of those examples (the first row of Figure 12) is particularly interesting:
the groundtruth continuation contains a typo due to formatting cutoff. While the smallest model
memorized the typo, larger models try to fix the typo.
In Figure 13 and Figure 14 we show examples that are memorized but not heavily duplicated in the
training set, and examples that are heavily duplicated but not memorized, respectively. Finally, we
show examples that are memorized by GPT2-XL in Figure 15.




                                                                                  15
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 17 of 20
Published as a conference paper at ICLR 2023




     Prompt                                Continuation (== 6B)                       2.7B                                     1.3B                              125M

     Gallery "Though defensive             condemned as ridiculous, and then          condemned as ridiculous, and then        tried in the mind of a child,     and foremost a man's duty
     violence will always be 'a sad        dismissed as trivial, until finally it     dismissed as trivial, before being       and then it is tried in the       to his fellow man. It is a
     necessity' in the eyes of men of      becomes what everybody knows." -           accepted as the most important           mind of a man."- Thomas           duty to be a man of
     principle, it would be still more     William James "This is the real task       thing in the world."- George             Paine "The only thing             principle, and to be a man
     unfortunate if wrongdoers             before us: to reassert our                 Bernard Shaw “The ultimate               necessary for the triumph         of
     should dominate just men."- St.       commitment as a nation to a law            measure of a man is not where he         of evil is for good men to do     principle, and to be a man o
     Augustine "A new idea is first        higher than our own,                       stands in moments of comfort and         nothing."- Edmund Burke "         f principle, and to be a man
                                                                                      convenience, but where                                                     of principle, and to be a

     Comment: smaller models get the quotes wrong (note George Bernard Shaw and Thomas Paine occurs commonly in list of quotes).

     ions:before { content:             "; } .fa-divide:before { content:             "; } .fa-digg:before { content:          "; } .fa-digg:before { content:   "; } .fa-discus:before
     "\f5eb"; } .fa-discord:before      "\f529"; } .fa-dizzy:before { content:        "\f391"; } .fa-dochub:before             "\f96c"; } .fa-dollar-            { content: "\f394"; } .fa-
     { content: "\f392"; } .fa-         "\f567"; } .fa-dna:before                     { content: "\f394"; } .fa-               sign:before { content:            drupal:before { content:
     discourse:before { content: "\f393                                               docker:before {                          "\f155"; } .fa-digniter           "\f395"; } .fa-drupal-discord

     Comment: the smaller models generate code of correct "format" (a table for font-awesome icons), but with mix-and-matched contents that are
     incorrect. For example, 125M model says fa-drupal is f395, which is actually for fa-docker. The 1.3B and 2.7B models both list fa-digg, but one
     as f96c, and the other as f391. The actual unicode value for fa-digg in font-awesome is f1a6.
     new users as an exploration tour      book contains many real life               book is designed to give the reader      is a good place to start for a    is a great way to get started
     and getting started guide, with       examples derived from the author's         a firm understanding of the              new user. A: I would              with a new project. A:
     exercises at the end of each          experience as a Linux system and           technologies needed to install and       recommend                         I would suggest you
     chapter. For more advanced            network administrator, trainer and         manage Linux systems, using the          the book &quot;Linux Netw         to use the following: Create
     trainees it can be a desktop          consultant. They hope these                varous available tools and               orking" by David S. It            a new project Create a new
     reference, and a collection of the    examples will help you to get a            techniques for the task. The book        is a very good book for           user Create a new user
     base knowledge needed to              better understanding of the Linux          begins with a rapid-fire                 beginners. A: I would             Create a new user Create
     proceed with system and               system and that you feel                   introduction to the basic principles     recommend
     network administration. This          encouraged to try out things on            of the Linux operating

     Comment: the book is Introduction to Linux, by Machtelt Garrels. Note the prompt do not have the word "Linux". Smaller models do not
     memorize the verbatim passage, but generate texts related to Linux and book (except for the 125M model).


Figure 9: Text examples that are memorized by the 6B model (according to true-continuation match),
but not memorized by smaller models (the generated texts do not match the true continuation, nor
any other training examples). The first column shows the prompt. The second column shows the
prediction from the 6B model, which matches the groundtruth continuation exactly. The remaining
columns shows predictions from smaller models.




     Prompt                               Continuation (== 6B)                 2.7B                                1.3B                                  125M

     disabled. BCG.com will work          age, religion, sex, sexual           age, religion, sex, sexual          age, religion, sex, sexual            religion, sex, national origin,
     better for you if you enable         orientation, gender identity /       orientation, gender identity /      orientation, gender identity/         gender identity, sexual
     JavaScript or switch to a            expression, national origin,         expression, national origin,        expression, national origin,          orientation, gender
     JavaScript supported browser.        protected veteran status, or         protected veteran status, or        protected veteran status, or any      identity expression, protected
     Boston Consulting Group is an        any other characteristic             any other characteristic            other characteristic                  veteran status, or any other
     Equal Opportunity Employer. All      protected under federal, state       protected under federal, state      protected by law. BCG uses            characteristic protected by
     qualified applicants will receive    or local law, where applicable,      or local law, where                 cookies to improve                    applicable law. Boston Consulting
     consideration for employment         and those with criminal              applicable. This website uses       the functionality, performance,       Group is a full-service, Equal
     without regard to race, color,       histories will be considered in      cookies to improve your             and effectiveness of our              Opportunity Employer. All
                                          a manner consistent with             experience. We'll                   communications. Detailed              qualified applicants will

     Comment: smaller models get less detail right.

     him." "That should pick you up.      ains." "What time do you have        ains." "Curtains." "Curtains."      is, you're a genius." "You're a       is, you're a good man." "You're a
     "" "Man bursts into tears." ""But    to be at your interview?" "Don't     "Curtains." "Curtains."             genius." "You're a genius."           good man." "You're a good man."
     doctor, " he says. "I am             worry." "We've got plenty of         "Curtains." "Curtains."             "You're a genius." "You're a          "You're a good man." "You're a
     Pagliacci. "" "Good joke."           time." "Your finger's like licking   "Curtains." "Curtains."             genius." "You're a genius."           good man." "You're a good man."
     "Everybody laugh." "Roll on          a battery." "God, Jon, stop."        "Curtains." "Curt                   "You're a genius." "You're a          "You're a good man."
     snare drum." "Curt                   "What are you doing?" "                                                  genius." "

     Comment: only the largest model generates a meaningful continuation.

     experience. The most important       vacation. If you want to save        trip to Rome.                       trip to Rome. The best way to         Rome trip. The Colesseum The
     places to visit in Rome are: The     time and money, the most             published:17 Jul 2017               get to Rome is by train.              Colesseum is a Roman fountain th
     Colesseum, Trevi Fountain, The       important Rome travel tip is to      views:12 published:02 Aug 201       The train is the best way             at is located in the Colesseum, the
     Pantheon, Piazza di Spagna,          compare prices before booking        7 views:3 published:01              to get to Rome. The train is the      Roman Forum. It is a Roman
     Vatican City. This video offers a    a hotel room or a flight. You        Aug 2017 views:1                    fastest way to get to Rome. The       fountain that is located in the
     lot of tips to help you plan the     can do this for free on http://      published:01 Aug 2017 views         train is the best way to get to       Colesseum, the Roman Forum.
     perfect                              bookinghunter.com, a site that                                           Rome.
                                          searches through

     Comment: the largest model memorizes the details, while smaller models deviate to talking about seemly relevant stuﬀ.



                                                          Figure 10: Continuation of Figure 9.




                                                                                               16
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 18 of 20
Published as a conference paper at ICLR 2023




     Prompt                             Continuation (== 6B)                 2.7B                                  1.3B                                  125M

     _GPL(crypto_unregister_alg); int   down_write(&crypto_alg_sem);         list_for_each_entry(q,                q = kzalloc(sizeof(*q),           struct crypto_template *tmpl
     crypto_register_template(struct    list_for_each_entry(q,               &crypto_alg_list, list) { if          GFP_KERNEL); if (!q) goto out; q- = crypto_template_new(tmpl); if
     crypto_template *tmpl) { struct    &crypto_template_list, list) { if    (tmpl->name && tmpl->name!            >alg = tmpl->alg; q->base         (err) return err; tmpl->tmpl =
     crypto_template *q; int err =      (q == tmpl)                          = q->alg.cra_name)                                                      q; tmpl->tmpl->tm
     -EEXIST;

     Comment: smaller models do not generate the exact code, but the variables refer to names in the prompt.

     , such as Google, Bing and         MOZ, two major directories           MOZ are two examples                  MOZ are examples of such              igg search engine are also used
     Yahoo!, use crawlers to find       which closed in 2014 and 2017        of directories that use this          directories. The search engines       to find pages for their algorithmic
     pages for their algorithmic        respectively, both required          technique. The Google                 are also used to find pages that      search results. The Google search
     search results. Pages that are     manual submission and human          Webmaster Tools tool is a free        are not indexed by the search         engine is a search engine that
     linked from other search           editorial review.[39] Google         tool that allows you to check         engines. These pages are              uses Google's search engine to
     engine indexed pages do not        offers Google Search Console,        the status of your site and to        referred to as &quot;orphaned"        find pages for its algorithmic
     need to be submitted because       for which an XML Sitemap feed        submit your site to Google.           pages. The search engines             search results. The Google search
     they are found automatically.      can be created and submitted         The Google Webmaster Tools            are also used to find pages that      engine uses the Google Search
     The Yahoo! Directory and D         for free to ensure that all          tool

     Comment: smaller models talk about relevant topics but are not as coherent as 6B model (which memorizes the training data verbatim).

     be 21 years of age to purchase     jurisdictions. Known age, state      jurisdictions. Known age, state       jurisdictions. Please check with      jurisdictions. This item cannot
     this item. Additional Shipping     and local shipping restrictions      and local shipping restrictions       your local dealer or retailer for     ship via any of our Next Day or
     fees/restrictions apply > This     are applied at checkout and may      are applied at checkout and           specific shipping restrictions on     Second Day Express delivery
     item cannot ship via any of our    result in changes to an order.       may result in changes to an           this product. This item cannot        methods. Shipping restrictions
     Next Day or Second Day             PLEASE NOTE: We do not accept        order. PLEASE NOTE: We cannot         ship to Canada. This item             apply to this product under some
     Express delivery methods.          returns of Ammunition for            guarantee that this item will         cannot ship internationally.          jurisdictions. This item cannot
     Shipping restrictions apply to     safety reasons. NEVER use any        be delivered to any of the            This item cannot be gift boxed        ship via any of our Next Day or
     this product under some            Ammunition unless it is              states we support. This               or shipped.                           Second Day Express delivery
                                        specifically designed for your       item cannot ship to
                                        firearm.

     Comment: smaller models talk vaguely about shipping restrictions (125M model simply repeat the prompts).



                                                        Figure 11: Continuation of Figure 9.




     Prompt                       6B                                  2.7B                                  1.3B                                       125M (== Continuation)

     2018 Annual Polis            in transport for sustainable        in transport for sustainable          in transport for sustainable cities        in transport for sustainable cities
     Conference 'Innovation in    cities and regions' will take       cities and regions' will take place   and regions' will take place on 22         and regions' will take place on 22
     transport for sustainable    place on 22 and 23 November         on 22 and 23 November in              and 23 November in Manchester              and 23 November in Manchester
     cities and regions' will     in Manchester United Old            Manchester United Old Trafford        United Old Trafford Stadium,               United Old Trafford Stadium,
     take place on 22 and 23      Trafford Stadium, Manchester,       Stadium, Manchester, United           Manchester, United Kingdon... The          Manchester, United Kingdo... The
     November in Manchester       United                              Kingdom. The conference will          2018 Annual Polis Conference               2018 Annual Polis Conference
     United Old Trafford          Kingdom. The conference will        bring together transport and          'Innovation in transport for               'Innovation in transport for
     Stadium, Manchester,         bring together over 1,000           urban planning experts, policy        sustainable cities and regions'            sustainable cities and regions' will
     United Kingdo... The 2018    delegates from across the           makers, academics, practitioners      will
     Annual Polis Conference      world to discuss the latest         and students to
     'Innovation                  developments in transport and

     Comment: The 125M model memorized the typo 'Kingdo...'; the 1.3B model fixed the typo but to a (semantically) wrong word. The 2.7B and
     6B models fix this word correctly.
     m_Scale: {x: 1, y: 1}        m_Texture:                          m_Texture:                            m_Texture:                         m_Texture: {fileID: 0} m_Scale: {x: 1,
     m_Offset: {x: 0, y: 0} -     {fileID: 2800000, guid: ee9e9e9     {fileID: 2800000, guid: ae8b9e8b      {fileID: 2800000, guid: bf9a8d9c9a y: 1} m_Offset: {x
     _MainTex:                    e9e9e9e9e9e9e9e9e9e9e9e9e           9a8e4b4a8b9b9b9b9b9b9b, type          9a4a4a9b8d9d8d6e9d9d9,

     Comment: the smallest model memorized the code, while the larger models try to generate some GUIDs.

     NOT LIMITED TO,              USED AND ON ANY THEORY OF           USED AND ON ANY THEORY OF             USED AND ON ANY THEORY OF                  USED AND ON ANY THEORY OF
     PROCUREMENT OF               LIABILITY, WHETHER                  LIABILITY, WHETHER                    LIABILITY, WHETHER                         LIABILITY, WHETHER IN * CONTRACT,
     SUBSTITUTE GOODS OR          IN CONTRACT, * STRICT               IN CONTRACT, * STRICT LIABILITY,      IN CONTRACT, * STRICT LIABILITY,           STRICT LIABILITY, OR TORT
     SERVICES; * LOSS OF USE,     LIABILITY, OR TORT (INCLUDING       OR TORT (INCLUDING                    OR TORT (INCLUDING                         (INCLUDING NEGLIGENCE * OR
     DATA, OR PROFITS; OR         NEGLIGENCE OR                       NEGLIGENCE OR                         NEGLIGENCE OR                              OTHERWISE) ARIS
     BUSINESS INTERRUPTION)       OTHERWISE) * ARIS                   OTHERWISE) * ARIS                     OTHERWISE) * ARIS
     * HOWEVER CA

     Comment: the larger models generate a slight variation of the license text. Our suﬃx array search did not find an exact match for this text in the
     training set.


Figure 12: Text examples that are memorized by the 125M model (according to true-continuation
match), but not memorized by larger models (the generated texts do not match the true continuation,
nor any other training examples). The first column shows the prompt. The last column shows the
prediction from the 125M model, which matches the groundtruth continuation exactly.




                                                                                           17
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 19 of 20
Published as a conference paper at ICLR 2023




 Frequency Prompt                                                                         Continuation ( == 6B)

     2        L_LONG_LONG */ __STL_TEMPLATE_NULL struct                                   constructor; typedef __true_type has_trivial_copy_constructor;
              __type_traits<float> { typedef __true_type                                  typedef __true_type has_trivial_assignment_operator;
              has_trivial_default_

     2        "groupby4_map", "groupby4_map_skew",                                        "groupby5_map", "groupby5_map_skew", "groupby5_noskew",
              "groupby4_noskew", "groupby5",                                              "groupby6",

     2        pair<K12>(_12), fusion::make_pair<K13>(_13),                                } namespace result_of { template < typename K0, typename K1,
              fusion::make_pair<K14>(_14), fusion::make_pair<K15>(_15));                  typename K

     2        _GLSL_400)) list += QLatin1String("dmat2"); if (variant &                   1String("dmat3"); if (variant & (Lexer::Variant_GLSL_400)) list +=
              (Lexer::Variant_GLSL_400)) list += QLatin                                   QLatin1String("dmat4"); if (variant & (

     3        disabled. BCG.com will work better for you if you enable                    age, religion, sex, sexual orientation, gender identity /
              JavaScript or switch to a JavaScript supported browser.                     expression, national origin, protected veteran status, or any
              Boston Consulting Group is an Equal Opportunity Employer.                   other characteristic protected under federal, state or local law,
              All qualified applicants will receive consideration for                     where applicable, and those with criminal histories will be
              employment without regard to race, color,                                   considered in a manner consistent with


Figure 13: Text examples that are memorized but are not heavily duplicated in the training set. Many
of these have a simple sequential structure (the middle three), may be boilerplate code (the first), or
starts out with unique text, and completes with frequently repeated text (the last example). Overall,
these are easily completed sequences.




 Frequency Prompt                                              Continuation                                    6B

   5526    contributors. All rights reserved. // // Licensed   License at // http://www.apache.org/            License at // // http://www.apache.org/licenses/
           under the Apache License, Version 2.0 (the          licenses/LICENSE-2.0 // // Unless required      LICENSE-2.0 // // Unless required by applicable law or
           "License"); // you may not use this file except     by applicable law or agreed to in writing,      agreed to in writing, software // distributed under
           in compliance with the License. // You may          software // distributed under the License is    the License
           obtain a copy of the                                distributed on an "AS
   5652    ators are Standing By Our Dumpster Specialists      : What size dumpster you will need What         include: What size dumpster do you need?
           are waiting by the phone to help you get            you plan on putting in your dumpster When       What type of waste do you have? How much waste
           started. However, there is some important           you need us to drop your roll off container     do you have? What is the delivery time?
           information we need before we can give you a        off How long you plan on keeping your roll-     What is the pickup time? What
           price quote and delivery time. Some things we       off City &
           need to know

   4323    a copy of the License at # # http://                or agreed to in writing, software #             or agreed to in writing, software # distributed under
           www.apache.org/licenses/LICENSE-2.0 # #             distributed under the License is distributed    the License is distributed on an "AS IS"
           Unless required by applicable law                   on an "AS IS" BASIS, WITHOUT #                  BASIS, # WITHOUT WARRANTIES OR CONDITIONS OF
                                                               WARRANTIES OR CONDITIONS OF ANY                 ANY KIND, either express or implied.
                                                               KIND, either express or implied. See
   3556    date_default_timezone_set() function. In case       set date.timezone to select your timezone.      set date.timezone to select your timezone. in /home/
           you used any of those methods and you are           in /home/erlypro/public_html/natural/datas/     notes/public_html/wp-includes/functions.php on
           still getting this warning, you most likely         persobanner_center.php on line 17               line 3812 Warning: date() [function.date]: It is not
           misspelled the timezone identifier. We selected     Deprecated: Function eregi_replace              safe to rely
           the timezone 'UTC' for now, but please

   3920    |&nbsp;&nbsp; [⼿把⼿翻墙教程](https://                    nbsp;|&nbsp;&nbsp; [禁闻聚合安卓版]                nbsp; [⽹⻔安卓版](https://github.com/gfw-
           github.com/gfw-breaker/guides/wiki) &nbsp;&         (https://github.com/gfw-breaker/bn-android) breaker/webpack-interpreter) &nbsp;&nbsp; [神州
                                                               &nbsp;&n                                    正道

   3675    * / __| | | | |_) | | *                             | (__| |_| | _ <| |___ *                        | (__| |_| | _ | | *

   3030    1775, "date": "1775\u20131851", "displayOrder":     Turner", "gender": "Male", "id": 558, "mda":    Turner", "gender": "Male", "id": 604, "mda": "Turner,
           1, "fc": "Joseph Mallord William                    "Turner, Joseph Mallord William",               Joseph Mallord William",


Figure 14: Text examples that are heavily replicated in the training set but not memorized. We
find many examples which have slight differences with no semantic (English) meaning. This
includes comment characters in code, non-English characters, template values, error messages, and
meaningless symbols. We also surprisingly find a large number of slightly different but heavily
repeated documents about dumpsters.




                                                                                   18
Case 4:22-cv-06823-JST Document 219-1 Filed 02/28/24 Page 20 of 20
Published as a conference paper at ICLR 2023




 Prompt                                                           Continuation (== GPT2-XL)

 165.00 $175.00 $180.00 $185.00 $190.00 $195.00 $200.00           00 $270.00 $280.00 $290.00 $300.00 $310.00 $320.00
 $210.00 $220.00 $230.00 $240.00 $250.00 $260.                    $330.00 $340.00 $350.00 $360.00 $370.00 $380.00 $

 ISRC3DEC2, ARIZONA_ISRC3DEC2MIX_INPUT_1_SOURCE);                 ISRC3DEC3MIX_INPUT_1_SOURCE);
 ARIZONA_MUX_ENUMS(ISRC3DEC3, ARIZONA_                            ARIZONA_MUX_ENUMS(ISRC3DEC4,
                                                                  ARIZONA_ISRC3DEC4MIX_INPUT_

 the councils of government, we must guard against the            of this combination endanger our liberties or democratic
 acquisition of unwarranted influence, whether sought or          processes. We should take nothing for granted. Only an
 unsought, by the militaryindustrial complex. The potential       alert and knowledgeable citizenry can compel the proper
 for the disastrous rise of misplaced power exists and will       meshing of the huge industrial and military machinery of
 persist. We must never let the weight                            defense with our peaceful methods and goals, so that
                                                                  security and

 full spreadsheet NEW! Buy our book • Facts are Sacred: the       world's government data with our gateway Development
 power of data (on Kindle) More open data Data journalism         and aid data • Search the world's global development data
 and data visualisations from the Guardian World                  with our gateway Can you do something with this data? •
 government data • Search the                                     Flickr Please post your visualisations and mash-ups on

 Original press release Get ahead of the crowd by signing up      by New Cannabis Ventures aims to curate high quality
 for 420 Investor, the largest & most comprehensive               content and information about leading cannabis companies
 premium subscription service for cannabis traders and            to help our readers filter out the noise and to stay on top of
 investors since 2013. Published by NCV Newswire The NCV          the most important cannabis business news. The NCV
 Newswire                                                         Newswire is hand-curated by

 of sole responsibility of the author(s). The Centre for          as long the source and copyright are acknowledged
 Research on Globalization will not be responsible for any        together with a hyperlink to the original Global Research
 inaccurate or incorrect statement in this article. The Centre    article. For publication of Global Research articles in print
 of Research on Globalization grants permission to cross-         or other forms including commercial internet sites, contact:
 post Global Research articles on community internet sites        [email protected] www.globalresearch.ca

Figure 15: Text examples that are from The Pile and memorized by GPT2-XL. The first two examples
have a natural sequential structure, while the others appear to represent an overlap in GPT2-XL’s
training set and The Pile.




                                                                 19
